                  Case 1:19-cv-10256-GHW Document 138 Filed 01/22/21 Page 1 of 3




(212) 373-3093

(212) 492-0093

jjohnson@paulweiss.com
                                                   January 22, 2021

        By ECF

        The Honorable Gregory H. Woods
        United States District Court
        Southern District of New York
        500 Pearl Street, Room 2260
        New York, NY 10007

                                    Cardwell v. Davis Polk & Wardwell LLP, et al.
                                          19-cv-10256-GHW (S.D.N.Y.)

        Dear Judge Woods:

                Defendants intend to move for Rule 11 sanctions against plaintiff and his counsel for
        particularly false and defamatory allegations in the Second Amended Compliant. Pursuant to Rule
        2.C(i) of Your Honor’s Individual Rules of Practice in Civil Cases, defendants submit this letter
        requesting a pre-motion conference with respect to this motion. Plaintiff does not consent to this
        request. Pursuant to Federal Rule of Civil Procedure 11(c), defendants put plaintiff and his counsel
        on prior notice of our Rule 11 motion and the grounds, but they have failed to withdraw these false
        allegations.

                 The allegations are these:

               First, plaintiff alleges that a former Davis Polk partner, Sophia Hudson, “retroactively created”
        and “falsified” her 2016 performance reviews of plaintiff Cardwell after Mr. Cardwell filed his
        complaint with the EEOC and NYSDHR in August 2017. See ¶¶ 408–410 of the Second Amended
        Complaint. Thus, plaintiff and his counsel are effectively accusing another member of the bar of
        backdating a document for purposes of litigation. This allegation is false and plaintiff knows it.

                The allegation appears in plaintiff’s Second Amended Complaint, served and filed on
        November 18, 2020. We wrote Mr. Jeffries and noted the evidence produced to him in discovery that
        demonstrated that this allegation was false, to give him the opportunity to withdraw it. This includes
        metadata reflecting that Mr. Cardwell’s 2016 performance reviews by Ms. Hudson were created on
        June 20 and September 27, 2016, and that she never altered them after that date. By letter dated
        December 21, 2020, and in a phone call with us on December 22, Mr. Jeffries contested the
        thoroughness of the metadata and refused to withdraw the allegation. Then, on January 12, 2021, we
        wrote Mr. Jeffries again to note for him emails that had been produced in discovery. Those emails
        were from September 2016 and May 2017 and attached Mr. Cardwell’s 2016 performance reviews in
        unaltered form. In other words, discovery given to the plaintiff now reveals to him that the
         Case 1:19-cv-10256-GHW Document 138 Filed 01/22/21 Page 2 of 3



Hon. Gregory H. Woods                                                                                  2

performance reviews could not have been backdated or altered sometime after August 2017, as he
alleges. In a meet and confer session on January 19, 2021, we gave plaintiff a third opportunity—
three additional days—to withdraw these false allegations. In response, rather than simply delete the
allegation from the Second Amended Complaint, plaintiff now proposes to substitute the false
allegation with a whole new sixteen-paragraph conspiracy theory that would ordinarily require leave
of Court to add at this point. In other words, rather than withdraw the false allegation outright, plaintiff
wants to take advantage of the situation to amend his complaint a third time, without leave of Court,
to allege a whole new and elaborate theory. The bottom line is: plaintiff refuses to simply withdraw
the false and irresponsible allegation.

        Second, in the Second Amended Complaint (at ¶ 449) plaintiff and his counsel continue to
allege that Ms. Hudson asked Mr. Cardwell to “recommend a Black restaurant.” The actual email
exchange in question refutes that allegation. It contains no reference to such words and, as the Court
has already recognized, “the content of the actual email exchange at issue . . . does not suggest any
inference of discrimination.” 1 ECF 78 at 45 n.18. Here again, we have noted this to plaintiff and his
counsel, and offered him the opportunity to withdraw the allegation, but he has failed to do so.

        This is the type of situation for which Rule 11 was created. While a plaintiff is not required to
possess proof positive of an allegation in a complaint before making it, allegations should not be made
that are “factually without foundation” at all. ED Capital, LLC v. Bloomfield Inv. Res. Corp., 316
F.R.D. 77, 81 (S.D.N.Y. 2016) (quoting Wechsler v. Hunt Health Sys., Ltd., 216 F. Supp. 2d 347, 356
(S.D.N.Y. 2002)). Furthermore, Rule 11 sanctions are appropriate for a party for refusing to withdraw
an allegation or claim after it is shown to be inaccurate. Galin v. Hamada, 283 F. Supp. 3d 189, 202–
04 (S.D.N.Y. 2017); Bunnell v. Haghighi, 183 F. Supp. 3d 364, 372 (E.D.N.Y. 2016)), aff’d, 753
F.App’x 3 (2d Cir. 2018); Cameau v. Nat’l Recovery Agency, Inc., 2018 WL 4522104, at *8 (E.D.N.Y.
Aug. 6, 2018) (granting Rule 11 motion following “the failure of Plaintiff’s counsel to withdraw
certain claims or amend the Complaint’s factual allegations” after discovery made clear that “factual
contentions did not have evidentiary support”), report and recommendation adopted, 2018
WL 4853050 (E.D.N.Y. Sept. 28, 2018).

        Further, plaintiff’s baseless and defamatory attack is on another member of the bar, alleging
what is essentially an effort by the lawyer to defraud the NYSDHR and EEOC and ultimately this
Court. Rule 11 sanctions are particularly appropriate where, as here, a demonstrably false allegation
exposes the object of the allegation to reputational damage. Cf. Katzman v. Victoria’s Secret
Catalogue, 167 F.R.D. 649, 661 (S.D.N.Y. 1996) (sanctions warranted where “Defendants have been
made to respond to a patently meritless complaint and to suffer unwarranted adverse publicity”), aff’d
sub nom. Katzman v. Victoria’s Secret Catalogue, Div. of The Limited, Inc., 113 F.3d 1229 (2d Cir.
1997). As we see it, at this point plaintiff’s persistence in peddling this false claim against Ms. Hudson
is harassing, designed to tarnish her reputation, and has no proper purpose. Galonsky v. Williams,

1
 Ms. Hudson’s actual e-mail to Mr. Cardwell reads as follows:
       HUDSON: Hi Kaloma, A client just asked me for a recommendation for a restaurant near the Apollo. I
       remembered our ride up to the [Columbia Law School] dinner this spring and wondered if you have any ideas -
       thoughts? Thanks! Sophia
       CARDWELL: Hi Sophia, Definitely. A few suggestions: Red Rooster[;] Angel of Harlem[;] The Cecil[.] Most
       of my friends would suggest Red Rooster (as a safe bet) but I’ve heard good things about the other restaurants.
       HUDSON: Awesome – thanks!
ECF 35-5; 45-7. Underlined text was hyperlinked to the restaurant websites in the original.
        Case 1:19-cv-10256-GHW Document 138 Filed 01/22/21 Page 3 of 3



Hon. Gregory H. Woods                                                                  3

1997 WL 759445, at *5 (S.D.N.Y. Dec. 10, 1997) (sanctions warranted where “claims were so baseless
as to leave no other conclusion that . . . they were filed for an improper purpose”); Katzman, 167
F.R.D. at 661 (sanctions appropriate where allegation exposes individual to reputational damage).

       Defendants look forward to a pre-motion conference with respect to the issues raised above.

                          Respectfully submitted,

                          PAUL, WEISS, RIFKIND, WHARTON &
                          GARRISON LLP

                          By: /s/ Jeh C. Johnson               .

                          Bruce Birenboim (bbirenboim@paulweiss.com)
                          Jeh C. Johnson (jjohnson@paulweiss.com)
                          Susanna M. Buergel (sbuergel@paulweiss.com)
                          Marissa C.M. Doran (mdoran@paulweiss.com)
                          1285 Avenue of the Americas
                          New York, New York 10019-6064
                          Telephone: (212) 373-3000

                          Counsel for Defendants Davis Polk & Wardwell LLP, John Bick,
                          Harold Birnbaum, Daniel Brass, John Butler, William Chudd,
                          Sophia Hudson, Thomas Reid, and Brian Wolfe
